                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                               DOCKET NO. 5:08CR10

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                 ORDER OF DISMISSAL
                                    )
DEVIN ROBERT CHURCH, ET AL.         )
                  Defendants.       )
___________________________________ )

       Leave of Court is hereby GRANTED for the dismissal of the Bill of Indictment as to

Defendant CARLOS MANUEL-DUARTE, in the above-captioned case, without prejudice.

       Because the detention order entered in the related case of United States v. Manuel-Duarte

(5:08CR47) remains in effect, the defendant shall not be released upon entry of this Order. The

Clerk is directed to certify copies of this Order to the U.S. Probation Office, the United States

Attorney's Office, the United States Marshals Service, and counsel for the defendant.



                                                  Signed: October 8, 2008




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